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Counsel for the Reorganized Debtor

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                )
    In re:                                                      )    Chapter 11
                                                                )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        )    Case No. 19-34054-sgj11
                                                                )
                                    Reorganized Debtor.         )    Re: Docket No. 3620
                                                                )

     CERTIFICATION OF NO OBJECTION REGARDING REORGANIZED DEBTOR’S
      MOTION FOR ENTRY OF AN ORDER FURTHER EXTENDING THE PERIOD
      WITHIN WHICH IT MAY REMOVE ACTIONS PURSUANT TO 28 U.S.C. § 1452
      AND RULE 9027 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE




1 The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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        The undersigned hereby certifies that, as of the date hereof, no answer, objection, or other

responsive pleading has been received to the Reorganized Debtor’s Motion for Entry of an Order

Further Extending the Period Within Which It May Remove Actions Pursuant to 28 U.S.C. § 1452

and Rule 9027 of the Federal Rules of Bankruptcy Procedure [Docket No. 3620] (the “Motion”)

filed on November 11, 2022. The undersigned further certifies that the Court’s docket in this case

has been reviewed and no answer, objection, or other responsive pleading to the Motion appears

thereon. Pursuant to the Notice of Hearing [Docket No. 3621], objections to the Motion were to

be filed and served no later than December 2, 2022, at 5:00 p.m. prevailing Central Time.




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 Dated: December 5, 2022               PACHULSKI STANG ZIEHL & JONES LLP

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                                       -and-

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